 

Case 1 :0-6 c-v- 00927- RWR Document 2 Filed 05/16/2006 Page 1 0f1

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NOTICE OF DESIGNAT]ON OF.RELATED ClVlL/MlSCELLANEOUS CASES
PENDING IN THlS OR ANY OTHER UNlTED S'I`ATES COURT

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FlLED ' CivilAction No. § N; U9z /
(To be supplied by the Clerlt) ,
No'ncE To THE PLAIN"nFF; MAY 1 6 2006
Pursuant to Rule LCvR 40. S(b)(l), you are requirmrpmwmtmqimat the time of filing any civil or miscellaneous case which
is related to any pending case(s) or which involves the same parties gamsz g@g|m"same subject matter of any dismissed related case(s). This form

must be prepared 1n sufi'\clent quantity to provide one copy for the Clerk's records, one copy for the Judge to whom the case is assigned and one copy
for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copies for a two defendant case, etc. 1

' ponce ro D'EFENDANT-

LCvR 40. 5(b)(2) of this Court requires that you serve upon the plaintiff and flle with your first responsive pleading or motion any objection
you have to the related case designation.

NO'l"lCE TO ALL COUNSEL

LCvR 40.5(b)(3) of this Court requires that as soon as an attorney for a party becomes aware of the existence of a related case or cases, such
attorney shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice on counsel for all other parties.

The plaintiff or counsel for plaintiff will please complete the following:
l. RELATIONSHIP OF §§W CASE TO PEND!NG RELATED CASE{S).

A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(es) below.]

[ ] (a) relates to common property
[ ] (b) involves common issues of fact
[X] (c) grows out of the same event or transaction
[ ] (d) involves the validity or infringement of the same patent
[ ] (e) is filed by the same .pro se litigant
~ 2. RELATIONSHIP OF NEW CASES TO DlSMlSSED RELATED CASE S . v

 

A new cases is deemed related t a case dismissed, with or without prejudice, in this or any other U. S. Court, if the new case involch the san’.
parties and relates to the same subject matter.

Check box if new cases is related to a dismissed case: [ ]`

 

 

 

 

 

3. NAME THE U.S. COURT lN WHlCH THE R.ELATED CASE lS FILED (lF OTHER THAN THlS COUR'I
4. CAPT]ON AND CASE NUMBER OF RELATED CASE(S). IF MORE ROOM lS NEEDED PLEASE USE THE OTHER SlDE‘.
United States Larnell Seeney C.A. No. 05-256 (RWR)
5'/6'8¢0& vs\&]:… `
' nature of Plaintiff(or counscl)
CO-932
Rev. 4/00

